       Case 6:22-cv-00033-JRH-BKE Document 1-1 Filed 05/11/22 Page 1 of 45

, • ) CT Corporation                                                                                  Service of Process
                                                                                                      Transmittal
                                                                                                      02/04/2022
                                                                                                      CT Log Number 541003426
    TO:         KIM LUNDY- EMAIL
                Walmart Inc.
                GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
                BENTONVILLE, AR 72712-3148

    RE:         Process Served in Georgia

    FOR:        WALMART INC. (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                                 Re: WELDON BETTY II To: WALMART INC.
    DOCUMENT(S) SERVED:                              Summons, Complaint, Certificate(s), Request(s)
    COURT/AGENCY:                                    Bulloch County - Superior Court, GA
                                                     Case # 5UCV2022000006
    NATURE OF ACTION:                                Personal Injury - Slip/Trip and Fall - 11/06/2020, Walmart Neighborhood Market
                                                     located at 349 Bampton Avenue, Statesboro, GA, 30458
    ON WHOM PROCESS WAS SERVED:                      The Corporation Company (FL), Cumming, GA
    DATE AND HOUR OF SERVICE:                        By Process Server on 02/04/2022 at 13:27
    JURISDICTION SERVED:                             Georgia
    APPEARANCE OR ANSWER DUE:                        Within 30 days after service, exclusive of the day of service (Document(s) may
                                                     contain additional answer dates)
    ATTORNEY(S) / SENDER(S):                         Matthew Grossman
                                                     Farah Et Farah, P.A.
                                                     10 W Adams St.
                                                     Jacksonville, FL 32202
                                                     904-515-6205
    ACTION ITEMS:                                    CT has retained the current log, Retain Date: 02/04/2022, Expected Purge Date:
                                                     02/09/ 2022
                                                     Image SOP

    REGISTERED AGENT ADDRESS:                        The Corporation Company (FL)
                                                     106 Colony Park Drive
                                                     STE 800-B
                                                     Cumming, GA 30040
                                                     877-564-7529
                                                     MajorAccountTeam2@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




                                                                                                      Page 1 of 1 / JD




                                                           EXHIBIT "A"
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SHERIFF'S ENTRY OF SERVICE

                                  \J ((Ye 2CCOCOG
                                                                          [ ] MAGISTRATE [ ] STATE [ ] SUPERIOR - COURT
 CIVIL ACTION NO. f'1;1k.1(‘                                              FORSYTH COUNTY, GEORGIA


 DATE FILED                     rz In                                                     .
 ATTORNEY OR PLAINTIFF(s), ADDRESS & TELEPHONE NUMBER
                                                                                 •   -\       Isk)( 1(1.(-\-\

                                                                          PLAINTIFF(S)
                                                                          VS.



                                                                              W(,\ mc(y-t- (1)(
                                                                          DEFENDANT(S)

 NAME, ADDRESS & TELEPHONE # OF PARTY TO BE SERVED

                               -\riQ
                                 \.( us- r)v P(/)                         GARNISHEE

                                       A                                  Other attached documents to be served:



                                                        SHERIFF'S ENTRY OF SERVICE
I HAVE THIS DAY SERVED THE WITHIN ACTION AND SUMMONS AS FOLLOWS:

 [     PERSONAL Upon the following named defendant:

 [ NOTORIOUS Upon defendant
 By leaving a copy of the action and summons at the most notorious place of abode in the county.

 Delivered the same to                                                                                     described as follows: approximate age


 yre approximate weight            pounds; approximate height             feet and            inches, domiciled at residence of the defendant.

 AZORPORATION
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                          Upon corporation                < (      l''         (r.Nil l t)--(t y !
  i
 By serving                  1A L1-
                                  .,. c- ;- C   1/4             (\i's1L       V 'Z-:                                 , in charge of the office and
 place of business of the corporation in this county.

 By serving                                                                                                               ‚its registered agent.


 [ ] TACK & MAIL By posting a copy of the same to the door of the premises designated in the affidavit and/or summons, and on the same
 day of such posting, by depositing a true copy of the same in the United States mail First Class mail, in an envelope properly addressed to
 the defendant(s) at the address shown in the summons, containing adequate notice to the defendant(s) to answer said summons at the place
 stated in the summons.

 [ J NON EST Did not serve because after a diligent search the defendant could not be found in the jurisdiction of the court.




                                                                               —27
This                day of                                                ,




SHERIFF DOCKET                  PAGE
                                                           EXHIBIT "A"
  Case 6:22-cv-00033-JRH-BKE Document 1-1 Filed 05/11/22 Page 3 of 45




       BRADLEY, SEABUR1N & ASSOCIATES
                          Private Investigations
                                   Civil Process
                         *Please note our new address*
                                 PO BOX 61001
                                5455 Verna Blvd
                            Jacksonville, FL 32236
                                 (904) 888-0098

TO:           Forsyth County Sheriffs 0ffiÖe:Civit Process

FROM:         Corina — jbacorina©gmail.corn

SUBJECT:      Request for Service of Process
              SUC V2022000006

Enclosed for service please find the following:

Please make sure all docs are listed on the return of service:)

Two copies of the summons and one complaint, certificate of discovery material,
request for admissions, request for production and interrogatories to be served on:

                     Walmart Inc
                     The Corporation Company
                     106 Colony Pak D, Ste 800-B
                     Cumming, GA 30040




Our check in the amount of $50.00 for service.

Kindly serve the enclosed at your earliest convenience and mail me your return
of service with the enclosed self-addressed envelope which is included.Thank
you in advance for your assistance, and if you have any questions, please do not
hesitate to contact me.




                                 EXHIBIT "A"
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Case 6:22-cv-00033-JRH-BKE Document 1-1 Filed 05/11/22 Page 5 of 45
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            SUPERIOR COURT OF BULLOCH COUNTY                                           CLERK OF SUPERIOR COURT
                                                                                       BULLOCH COUNTY, GEORGIA
                    STATE OF GEORGIA
                                                                                     SUC V2022000006
                                                                                        JAN 12, 2022 04:03 PM

                                                                                                 Heather Banks McNeal, Clerk
                                                                                                 Bulloch County, Georg




                    CIVIL ACTION NUMBER SUCY2022000006
 Weldon, Betty

 PLAINTIFF
                                            VS.
 Walmart, Inc

 DEFENDANT


                                         SUMMONS
 TO: WALMART, INC

 You are hereby summoned and required to file with the Clerk of said court and serve upon the
 Plaintiff's attorney, whose name and address is:

                           Matthew Grossman
                           Farah & Farah
                           10W Adams St.
                           Jacksonville, Florida 32202

 an answer to the complaint which is herewith served upon you, within 30 days after service of
 this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
 default will be taken against you for the relief demanded in the complaint.

 This 12th day of January, 2022.
                                                  Clerk of Superior Court




                                                             Heather Banks McNeal, Clerk
                                                             Bulloch County, Georgia




                                    EXHIBIT "A"
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                                                                                            EFILED IN OFFICE
           SUPERIOR COURT OF BULLOCH COUNTY                                           CLERK OF SUPERIOR COURT
                                                                                      BULLOCH COUNTY, GEORGIA
                   STATE OF GEORGIA
                                                                                    SUC V2022000006
                                                                                       JAN 12, 2022 04:03 PM

                                                                                   fy,t9_47—ks-v
                                                                                                   Heather Banks McNeal, Clerk
                                                                                                   BuBooh County, Georgia




                   CIVIL ACTION NUMBER SUC V2022000006
Weldon, Betty

PLAINTIFF
                                           VS.
Walmart, Inc

DEFENDANT


                                        SUMMONS
TO: WAL1VIART, INC

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiffs attorney, whose name and address is:

                          Matthew Grossman
                          Farah I& Farah
                          10W Adams St.
                          Jacksonville, Florida 32202

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint.

This 12th day of January, 2022.
                                                 Clerk of Superior Court




                                                            Heather Banks McNeal, Clerk
                                                            Bulloch County, Georgia




                                     EXHIBIT "A"
      Case 6:22-cv-00033-JRH-BKE Document 1-1 Filed 05/11/22 Page 7 of 45
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                                                                                     BULLOCH COUNTY'
                                                                                    SUC V2022
                                                                                      JAN 12, 2022      0‘,
                   IN THE SUPERIOR COURT OF BULLOCH COUNTY
                               STATE OF GEORGIA
                                                                                               Heather Banks
                                                                                               Su110th County,




 BETTY WELDON,
                                                            CIVIL ACTION
                                Plaintiff,                  FILE NO.:
 V.

 WALMART 111C, foreign for profit                           JURY TRIAL DEMANDED'
 corporation,

                                Defendant.
                                               •

                                             COMPLAINT

        COMES the Plaintiff, BETTY WELDON, and for her Complaint against Defendant,

WALMART Inc, states as follows:

                                                   1.

        Plaintiff, BETTY WELDON, voluntarily submits ti:s the jurisdiction of this Court.

                                                   2.

        Defendant, WALMART Inc, d/b/a Walmart Neighborhood Market, is a foreign profit

corporation with a principal address of 708 SW 8n' Street, Bentonville, AR 72716, USA.

Defendant, WALMART Inc, may be served with a copy of the summons and complaint in this

matter by delivery of same to its registered agent for service of process, The Corporation Company,

106 Colony Park Drive, Ste. 800-B, Cumming, GA 30040-2794, 31525, USA.

                                                   3.

       Defendant, WALMART Inc, owned the property at 349 Bampton Avenue, Statesboro, GA

30458, also known as the Walmart Neighborhood Market.




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                                                     4.

        Venue and jurisdiction are proper in this Court.

                                    FACTUAL ALLEGATIONS

                                                     5.

        On or about November 6, 2020, Plaintiff, BETTY WELDON, was a business invitee at the

Walmart Neighborhood Market, located at 349 Bampton Avenue, Statesboro, GA 30458. This

store is owned and operated by Defendant, WALMART INC..

                                                    6.

        On that date, at approximately 7:00AM, in the produce department, while an invitee in that

building, Plaintiff slipped in a transitory foreign substance that was on the floor, falling to the ground

as a result of slipping in the transitory foreign substance.

                                                    7.

        Plaintiff, at all times pertinent to this Complaint, exercised due care for her own safety.


                                              COUNT I
                                            NEGLIGENCE

        Plaintiff realleges and incorporates by reference Paragraphs 5 to 7 as if fully set forth herein

and would further state:

                                                    8.

        At the time and place described above, Defendant maintained, owned and/or controlled the

Walmart Neighborhood Market.




                                                   [2]

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                                                     9.

        At all times material hereto, Defendant as maintainer, owner, and/or controller of the

subject property, had a duty to maintain the premises, in a reasonably safe condition.

                                                    10.

        Defendant had actual or constructive notice of the existence of this aforesaid transitory foreign

substance on the floor of its store and should have taken steps to remedy the condition or warn plaintiff

of its existence. It did neither. Defendant was on constructive notice of the unreasonably dangerous

condition caused by this transitory foreign substance because:

              (a) The dangerous condition existed for such a length of time that, in the exercise of

           ordinary care, Defendant should have known of the condition; or

             (b) The condition, to wit, a transitory substance on the floor of this store, occurred

           with regularity and was therefore foreseeable; or

             (c) The dangerous condition was caused by Defendant and/or one of Defendant's

           employees while said employee was acting within the course and scope of their

           employment with Defendant.

                                                    Il.

        Defendant breached its aforesaid duties to Plaintiff by allowing this unreasonably dangerous

condition to exist on its property and/or by failing to warn Plaintiff of its existence.

                                                    12.

        As a direct and proximate result of the aforementioned negligence, Plaintiff was injured in

and about her body and extremities, which resulted in pain and suffering, disability, physical

impairment, disfigurement, mental anguish, inconvenience, aggravation and/or activation of pre-




                                                   [3]

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existing condition or physical defects, and loss of capacity for the enjoyment of life, all of which

are continuing and are permanent in nature, past and future medical and related expenses, loss of

earnings and/or loss of ability to earn monies in the past and permanent impairment of his future

ability to earn income.

       WHEREFORE, Plaintiff prays for the following:

       a)      Trial by jury; and

       b)      Judgement for all recoverable damages in her favor against Defendant in an amount

               to be shown by the evidence at the time of trial and determined by the enlightened

               conscious of the jury; and

       c)      All attorney's fees and costs of Court to be cast against Defendant; and

       d)      Such other relief as this Court deems just and equitable.




                                                     Farah & Farah, P.A.



                                                     Mkthew J. Grossman, Esq.
                                                     Georgia Bar No. 421625
                                                     Attorney for Plaintiff
 10 West Adams Street
Jacksonville, FL 32202
904.515-6205
mgrossman@farahandfarah.com
ldubberly@farahandfarah.com




                                               [4]

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                                                                                    CLERK OF SUPERIOR COURT
                                                                                    BULLOCH COUNTY, GEORGIA
                                                                                  SUCV2022000006
                     IN THE SUPERIOR COURT OF BULLOCH COUNTY                                  B
                                 STATE OF GEORGIA                                   MAR 03, 2022 11:23 AM


BETTY WELDON,                                )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )         CIVIL ACTION
                                             )         FILE NO. SUV2022000006
WALMART, INC                                 )
                                             )
       Defendants.                           )


                     CONSENT MOTION FOR THE SUBSTITUTION
                            OF A PARTY-DEFENDANT


       COME NOW the parties in the above-captioned case, by and through undersigned counsel,

and file this Consent Motion to substitute Wal-Mart Stores East LP as the Defendant in this action

pursuant to O.C.G.A. § 9-11-15, and to dismiss “Wal-Mart Inc.” pursuant to O.C.G.A. § 9-11-41

and show this Court as follows:

1.     The Complaint in this action was filed on January 12, 2022. Said Complaint named

“Walmart, Inc.” as a party-Defendant in this action.

2.     “Walmart, Inc.” is not the correct party.

3.     Wal-Mart, Inc. was served with a copy of the Summons and Complaint in this action,

through its registered agent at The Corporation Company (FL) in Cumming, GA on February 4,

2022, and timely answered the Complaint on March 1, 2022.

4.     Walmart Inc. is not the correct corporate entity and does not own, manage, or operate the

store at issue. Counsel for the Defendant has indicated that the correct corporate party-Defendant

is Wal-Mart Stores East LP.

5.     Plaintiff and Defendant agree and request that “Walmart, Inc.” should be dropped from this

matter and Wal-Mart Stores East LP should be substituted and added as the proper Defendant.



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Walmart Inc. and Walmart Stores East LP do not admit liability by virtue of this substitution and

preserve all defenses available to them in this action.

6.     By and through undersigned counsel, Wal-Mart Stores East, LP hereby waives issuance of

a summons and acknowledges service of process of Plaintiff’s Complaint, but does not waive any

other defenses. Plaintiff and Defendant stipulate and agree that the Answer and Defenses to

Plaintiff’s Complaint of Wal-Mart Inc. previously filed with the Court shall now serve as the

Answer and Defenses for Wal-Mart Stores East LP and the parties stipulate that no further Answer

or verification shall be required on behalf of Wal-Mart Stores East LP.

7.     The     parties    further      request   that     the    Court      issue        an   order   that

“Walmart, Inc.” is dismissed without prejudice as Defendant in this action pursuant to O.C.G.A.

§ 9-11- 41, that the case proceed against Wal-Mart Stores East LP and that the style of the case be

amended to reflect the substitution.

8.     The parties submit a proposed Order for the Court’s review and consideration.


       This 3rd day of March, 2022.


                                                         /s/ Matthew J. Grossman
                                                        Matthew J. Grossman
                                                        Georgia Bar No. 421625
                                                        [signed w/ express permission]
                                                        Attorney for Plaintiff


Matthew J. Grossman
Farah & Farah, P.A.
10 West Adams Street
Jacksonville, Florida 32202
mgrossman@farahandfarah.com



                            [Signatures continued on following page.]



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                                   DREW ECKL & FARNHAM, LLP


                                   /s/ Ann H. Searcy
                                   Leslie P. Becknell
                                   Georgia Bar No. 046320
                                   Ann H. Searcy
                                   Georgia Bar No. 633302
                                   Attorneys for Defendant

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912-280-0654
LBecknell@deflaw.com
searcya@deflaw.com




                                    -3-
                             EXHIBIT "A"
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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true and correct copy of the foregoing
Consent Motion for the Substitution of a Party Defendant and Proposed Order electronically
through Odyssey e-file system to the following counsel of record addressed as follows:


                                    Matthew J. Grossman
                                     Farah & Farah, P.A.
                                    10 West Adams Street
                                 Jacksonville, Florida 32202
                                mgrossman@farahandfarah.com




       This 3rd day of March, 2022.

                                              DREW ECKL & FARNHAM, LLP


                                               /s/ Ann H. Searcy
                                              Leslie P. Becknell
                                              Georgia Bar No. 046320
                                              Ann H. Searcy
                                              Georgia Bar No. 633302
                                              Attorneys for Defendant

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912-280-0654
LBecknell@deflaw.com
searcya@deflaw.com




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                                                                               CLERK OF SUPERIOR COURT
                                                                               BULLOCH COUNTY, GEORGIA
                                                                             SUCV2022000006
                IN THE SUPERIOR COURT OF BULLOCH COUNTY                                  B
                            STATE OF GEORGIA                                   APR 27, 2022 05:52 PM


       BETTY WELDON,                               )
                                                   )
              Plaintiff,                           )
                                                   )
       v.                                          )       CIVIL ACTION
                                                   )       FILE NO. SUV202200006
       WALMART, INC                                )
                                                   )
              Defendants.                          )


     CERTIFICATE PURSUANT TO UNIFORM STATE COURT RULE 5.2

       Defendants by and through the undersigned counsel, files this Certificate pursuant
to Uniform State Court Rule 5.2 and shows that opposing counsel was duly served with a
copy of the following:


       1.     Non-Party Request for Production of Documents to Abercorn
              Rehabilitation Center.
       2.     Non-Party Request for Production of Documents to American Health
              Imaging.
       3.     Non-Party Request for Production of Documents to Candler County
              Hospital.
       4.     Non-Party Request for Production of Documents to CP Healthcare.
       5.     Non-Party Request for Production of Documents to Injury Pharmcy
              Solutions.
       6.     Non-Party Request for Production of Documents to Jacksonville
              Beach Surgery Center.
       7.     Non-Party Request for Production of Documents to NE Georgia
              Health System.
       8.     Non-Party Request for Production of Documents to Precision Spine
              and Joint.
       9.     Non-Party Request for Production of Documents to Pooler Imaging.




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       10.     Non-Party Request for Production of Documents to Central Georgia
               Rehab.
       11.     Non-Party Request for Production of Documents to Touchton Surgery
               Center.
       12.     Non-Party Request for Production of Documents to Allegiant
               Anesthesia.
       13.     Non-Party Request for Production of Documents to St. Joseph
               Hospital.
       14.     Non-Party Request for Production of Documents to Candler Hospital.
       15.     Non-Party Request for Production of Documents to Gainesville
               Hospital GA.
       16.     Non-Party Request for Production of Documents to Neurological
               Spine and Institute.
      I further certify that I have simultaneously served all counsel with a copy of this
Certificate of Service of Discovery by depositing a copy of same in the United States
Mail, with sufficient postage affixed thereon to assure delivery, addressed to:

                                 Matthew J. Grossman
                                  Farah & Farah, P.A.
                                 10 West Adams Street
                              Jacksonville, Florida 32202
                             mgrossman@farahandfarah.com

       This 27th day of April 2022.


                                              DREW, ECKL & FARNHAM, LLP


                                                     /s/ Ann H.Searcy
                                                     Leslie P. Becknell
                                                     Georgia Bar No. 046320
                                                     Ann H. Searcy
                                                     Georgia Bar No. 633302
                                                     Attorney for Defendants




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                    IN THE SUPERIOR COURT OF BULLOCH COUNTY
                                STATE OF GEORGIA

BETTY WELDON,

       Plaintiff,

v.                                                           CIVIL ACTION
                                                             FILE NO. SUCV2022000006
WALMART Inc, foreign for profit
corporation,

       Defendant.                                     JURY TRIAL DEMANDED


         RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY MATERIALS
       This is to certify that pursuant to U.S.C.R. 5.2, 1 have served counsel of all parties in the
above-referenced matter with copies of the following:
       1.     Plaintiff's Response to Defendant's First Interrogatories
       2.     Plaintiff's Response to Defendant's Requestfor Production.
       3.     A copy of this Rule 5.2 Certificate ofService ofDiscovery Materials;
by depositing same in the United States Mail, postage prepaid and properly addressed and emailed
as follows:
              amday of
       This I l                             , 2022.


                                             Respectfully submitted,




                                             Matthew J. Grossman, Esq.
                                             Georgia State Bar No.: 421625
                                             10 West Adams Street
                                             Jacksonville, FL 32202
                                             T: 904-515-6205
                                             E: mgrossman@farahandfarah.corn




                                     EXHIBIT "A"
   Case 6:22-cv-00033-JRH-BKE Document 1-1 Filed 05/11/22 Page 35 of 45




                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing has been served on Defendant as required by the Georgia
Civil Practice Act.
               10 th
        This t ( day of    Ac                 ,2022.


                                             Respectfully submitted,




                                               atthew J. Grossman, Esq.
                                             Georgia State Bar No.: 421625
                                             10 West Adams Street
                                             Jacksonville, FL 32202
                                             T: 904-515-6205
                                             E: mgrossman@farahandfarah.corn




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